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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

IN RE:                                 :     CASE NO. 22-11596
         JAMIE D. BARKER                     CHAPTER 13
          KRISTINA M. BARKER

                                       :     JUDGE BUCHANAN
      DEBTORS
                                       :     NOTICE THAT TRUSTEE WILL NOT SCHEDULE
                                             CLAIM 2 OF THE U.S. DEPT. OF
                                             EDUCATION FOR ADMINISTRATION PURSUANT
                                             TO CONSENT JUDGMENT IN
                                             CASE 23-ap-01017

      Comes now the Chapter 13 Trustee, Margaret A. Burks, Esq., who refers to
the Consent Judgment As To Loans Owed To The U.S. Department of Education entered
as Doc. 20 on May 10, 2024 in the adversary proceeding filed under Case No. 23-
ap-01017.

      A copy of said Consent Judgment is attached hereto as Ex. 1.

      After consulting with the parties, the Trustee believes the judgment has
immediate effect as to the entirety of Claim 2, and so the Trustee gives notice
that she will not schedule Claim 2 to receive the pro rata portion of Claim 2
which would have otherwise been paid with unsecured claims.

                                       Respectfully submitted,



                                 /s/   Margaret A. Burks, Esq.
                                       Margaret A. Burks, Esq.
                                       Chapter 13 Trustee
                                       Attorney No. OH 0030377

                                       Francis J. DiCesare, Esq.
                                       Staff Attorney
                                       Attorney No. OH 0038798

                                       Tammy E. Stickley, Esq.
                                       Staff Attorney
                                       Attorney Reg No. OH 0090122

                                       600 Vine Street, Suite 2200
                                       Cincinnati, OH 45202
                                       513-621-4488

                                       mburks@cinn13.org Correspondence only
                                       fdicesare@cinn13.org
                                       tstickley@cinn13.org
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                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Trustee’s Notice was
served electronically on the date of filing through the court’s ECF System on
all ECF participants registered in this case at the email address registered
with the court and

by first class mail on May 29, 2024, addressed to:


Jamie D. Barker
Kristina M. Barker
1117 Emily Dr.
Milford, Ohio 45150

Joseph M. McCandlish
Assistant United States Attorney
303 Marconi Boulevard, Suite 200
Columbus, Ohio 43215



                                       /s/   Margaret A. Burks, Esq.
                                             Margaret A. Burks, Esq.
